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                           UNITED STATES DISTRICT COURT

                      MIDDLE DISTRICT OF LOUISIANA
____________________________________

BLAIR IMANI, et al.

                       Plaintiffs,                  Docket No.17-00439-JWD-EWD
          v.

CITY OF BATON ROUGE, et al.

                  Defendants.
______________________________________

                                 JUDGMENT OF DISMISSAL

           Considering the Consent Motion to Voluntarily Dismiss Particular Defendants in the

above-captioned cause

    IT IS ORDERED that Defendants Michael Edmonson, Beau Comeaux, Joe Dessens, Mark

Dennis, Jonathan James, Gerald Varnado, Samuel Capaci, Kevin Curlee, Kevin Cannatella, and

John Clary are hereby dismissed with prejudice. The dismissed defendants will bear their own

costs.


           Signed in Baton Rouge, Louisiana, on September 23, 2021.




                                               S
                                        JUDGE JOHN W. deGRAVELLES
                                        UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT OF LOUISIANA




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